AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                              Middle District
                                             __________       of North
                                                          District     Carolina
                                                                   of __________

)RRG/LRQ//&DQG0DU\ODQGDQG9LUJLQLD
0LON3URGXFHUV&RRSHUDWLYH$VVRFLDWLRQ                        )
                             Plaintiff                         )
                                v.                             )      Case No.     1:20-cv-00442
              Dairy Farmers of America, Inc.,                  )
                            Defendant                          )

                                                APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiff - Food Lion, LLC                                                                                   .


Date:          05/19/2020                                                                 s/ John S. Martin
                                                                                         Attorney’s signature


                                                                                 John S. Martin, VA Bar No.: 34618
      V5\DQ*5LFK1&%DU1R                                           Printed name and bar number
      /RFDO&RXQVHO6LJQDWXUH
                                                                                    Hunton Andrews Kurth LLP
                                                                                      951 East Byrd Street
                                                                                      Richmond, VA 23219

                                                                                               Address

                                                                                      martinj@huntonak.com
                                                                                            E-mail address

                                                                                          (804) 788-8774
                                                                                          Telephone number



                                                                                             FAX number




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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 19, 2020, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system, and that said document will be served on the defendant with
the summons and complaint via certified mail, return receipt requested, addressed as follows:

DAIRY FARMERS OF AMERICA, INC.
c/o Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808

                                             s/ John S. Martin
                                                John S. Martin




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